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                        EXHIBIT B
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                                                                                                                                    USOO666.2190B2

       (12) United States Patent                                                                                  (10) Patent No.:               US 6,662,190 B2
              Bax et al.                                                                                          (45) Date of Patent:                     Dec. 9, 2003

       (54) LEARNING AUTOMATIC DATA                                                                           White Paper on Vignette(R) Content Aggregation Server,
               EXTRACTION SYSTEM                                                                              author Kate Quackenbush, published Feb. 2, 2001, from
                                                                                                              http://www.Vignette.com.
       (75) Inventors: Eric T Bax, Pasadena, CA (US); Julian                                                  Overview of Liaison Content Exchange 3.0, original publi
                       Pelico, Agoura Hills, CA (US)                                                          cation date unknown, copyright date 2000-2001, from
                                                                                                              http://www.liaSon.com.
       (73) Assignee. iSpheres Corporation, Oakland, CA                                                       Overview of the Cohera Content Integration System, origi
                       (US)                                                                                   nal publication date unknown, copyright date 2001, from
                                                                                                              http://www.cohera.com.
       (*) Notice: Subject to any disclaimer, the term of this                                                Overview of the Cohera WorkbenchTM, original publication
                              patent is extended or adjusted under 35                                         date unknown, copyright date 2001, from http://www.co
                              U.S.C. 154(b) by 325 days.                                                      hera.com.
                                                                                                              Overview of Softface, Inc.'s SmartContent product, original
       (21) Appl. No.: 09/812,425                                                                             publication date unknown, copyright date 2000, from http://
       (22) Filed:     Mar 20, 2001                                                                           www.Softface.com.
       (65)                  Prior Publication Data                                                           * cited by examiner
               US 2002/0138491 A1 Sep. 26, 2002                                                               Primary Examiner Wayne Amsbury
       (51) Int. Cl. ................................................ G06F 17/30                              (74) Attorney, Agent, or Firm Michael A. Mann; Nexsen
       (52) U.S. Cl. ....................................................... 707/102                          Pruet Jacobs & Pollard, LLC
       (58) Field of Search .......................................... 707/102                                (57)                  ABSTRACT
       (56)                       References Cited                                                            An improvement to an automatic data extractor has the
                                                                                                              capability of discovering new values that are not recognized
                         U.S. PATENT DOCUMENTS                                                                by the Vocabulary of the automatic data extractor and adding
              4,706,212 A    11/1987 Toma ............................ 704/2                                  them to the record being formed and to the Vocabulary, thus
              4,864,501. A * 9/1989 Kucera et al. .                ... 704/8                                  accumulating new vocabulary through use. The extractor
              4,868,750 A * 9/1989 Kucera et al. ................. 704/8                                      gleans new values by deducing them from the Structure of
              5,497.319 A * 3/1996 Chong et al. .................. 704/2                                      the text data and learns them by adding them to its Vocabu
              5,555,169 A * 9/1996 Namba et al. .......           ... 704/9                                   lary. The data eXtractor determines the Structure of the data
              5,687,363 A * 11/1997 Oulid-Aissa et al. .......... 707/4                                       in much the Same way as prior art data extractors but then
              5,754,766 A * 5/1998 Shaw et al. .......... ... 709/200                                         a discovery process is used to identify a Series of field lists
              5,832,450 A * 11/1998 Myers et al. .................. 705/3                                     using preferably at least one field parser and a field grader.
              5,963,940 A * 10/1999 Liddy et al. ................... 707/5                                    The results of the grader are returned to an attribute mapper
              5.974,412 A * 10/1999 Hazlehurst et al.             ... 707/3
              6,018,736 A    1/2000 Gilai et al. .................... 707/6                                   that identifies the position in the field list for each of the
              6,230,168 B1 * 5/2001 Unger et al. ............. 715/501.1                                      attributes. The content of each field, if not already added to
        2001/0033205 A1           10/2001 Kubaitis                                                            the record and associated with the correct attribute using the
        2002/0032740 A1            3/2002 Stern et al.                                                        recognizer, can now be associated by its position in the field
                                                                                                              list with an attribute and written to the record as the value for
                            OTHER PUBLICATIONS
                                                                                                              that attribute. Furthermore, a learner assigns that field to the
       Overview of Vignette(R) Content Aggregation Server, origi                                              Vocabulary list if not already present in the Vocabulary.
       nal publication date unknown, copyright date 1997-2001,
       from http://www.vignette.com.                                                                                            9 Claims, 3 Drawing Sheets
                                                                      AUTOMATI DATA EXTRACTOR

                                                                                            FOCUSER
                                                                       WOCA3ULARY           FOCUSERPARSERS             REABER
                                                                                            FOCUSERGRADER

                                                                                                   REGION OF
                                                                                                   INTEREST
                                                                                                   SEGMENTER
                                                                      RECORDFORMER                 SEGAENTERPARSERS

                                                                                                   SEGMETERGRADER

                                                                                                    RECORD
                                                                                                    REGIONS
                                                                                        L DISCOYERER
                                                                                                FIELD PARSERS

                                                                                                  E GRADER

                                                                           ADDITIONAL                 IELDLIST
                                                                               YALUES
                                                                                             ATTRIBUTEMAPPER
                                                                                                    ATRISTE
                                                                                                     Ap
                                                                                                   GLEANER
                                                                                                    ADDITIONAL
                                                                                                    VALUES
                                                                      ADBTIONALWALUES              LEARNER




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             AUTOMATIC DATA EXTRACTOR

                                            FOCUSER
             WOCABULARY                     FOCUSERPARSERS                 READER

                                            FOCUSERGRADER

                                               REGION OF
                                               INTEREST

                                        SEGMENTER
                             RECORD
             RECORD FORMER   REGION     SEGMENTERPARSERS

                                        SEGMENTERGRADER




                RECORD


                                                  E1
                                               PRIOR ART




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               AUTOMATIC DATA EXTRACTOR

                                            FOCUSER

               WOCABULARY                   FOCUSERPARSERS                      READER

                                            FOCUSERGRADER

                                                  REGION OF
                                                  INTEREST

                                  RECORD
                                                  SEGMENTER
                                  REGIONS         SEGMENTERPARSERS
              RECORD FORMER

                                                  SEGMENTERGRADER

                                                  RECORD
                                                  REGIONS

                  RECORD                    DISCOVERER
                                               FIELD PARSERS

                                               FIELD GRADER

                    ADDITIONAL                     FIELD LIST
                        WALUES
                                              ATTRIBUTE MAPPER
                                                   ATRIBUTE
                                                   MAP
                                                  GLEANER
                                                   ADDITIONAL
                                                   WALUES
              ADDITIONAL WALUES                   LEARNER




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               READ INTEXT FILE                                  ADDGLEANED WALUES
                                                                   TOWOCABULARY



             APPLY FOCUS PARSERS                                 ADDGLEANED WALUES
                 TOTEXT FILE                                         TO RECORD



              GRADE RESULTS OF                                     GLEANATTRIBUTE
               FOCUS PARSERS                                        WALUES NOT IN
                                                                     WOCABULARY


              SELECT RESULTS WITH                                 MAP ATTRIBUTES AS
             BEST GRADE REGION OF                                FUNCTION OF POSITION
                    INTEREST                                         INFIELD LISTS


               APPLY SEGMENTER                                   SELECT RESULTS WITH
             PARSERS TO REGION OF                                 BEST GRADE FIELD
                   INTEREST                                              LISTS


               GRADE RESULTS OF                                   GRADE RESULTS OF
              SEGMENTERPARSERS                                      FIELD PARSERS



             SELECT RESULTS WITH                                 APPLY FIELD PARSERS
             BEST GRADE RECORD                                    TO RECORD REGIONS
                   REGIONS


             FORMA RECORD WITH          COMPARE WALUES IN         ASSGN RECOGNIZED
             ATTRIBUTES INTIALLY      RECORD REGIONS WITH         WALUESTORECORD
               WITHOUT WALUES         WALUES IN WOCABULARY            REGIONS




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                   LEARNING AUTOMATIC DATA                                 nizers are used by parsers to identify attribute values in a
                      EXTRACTION SYSTEM                                    Source text. Then, graders are used to determine which
                                                                           parser produced results that best fit the text.
                                                                              For example, Suppose the Source text is a web page that
                      FIELD OF THE INVENTION                               contains a banner advertisement, Several pages of free text,
          The present invention relates to processing data. In             and a table that contains record data. The goal of the focuser
       particular, the present invention is related to converting text     procedure is to identify the region of interest; here, the table.
       into data records.                                                  First, each focus parser is applied to the text. One focus
                                                                           parser may identify the free text and another may identify
                 BACKGROUND OF THE INVENTION                               the table. The first parser returns the free text region; and the
          Data extraction is the process of converting digital text to     Second one, the table region. The focus grader is applied to
       digital data records. For example, the text of a web page           both regions returned. The graders determine which region
                                                                            contains the most attribute values, or the most attribute
       found on a web site that Sells cars may be converted into a
       Set of records, one record for each car that is offered for Sale. 15 values and labels, or the most attribute values and labels per
                                                                            number of words in the region, depending on the grading
       Each car may be associated with “values” for its attributes      algorithm. The region that achieves the highest grade
       of make, model, year, color and price. The Set of attributes     becomes the “region of interest.”
       for a particular car make up the record associated with that        Automatic data eXtractors may also contain Segmenter
       car. Some of these attributes may have no value; that is, no     procedures that include Segment parser and Segment grader
       value will be assigned to that attribute to indicate merely that components. Segmenter procedures are designed to identify
       no value was extracted from the web page text for that car.      a Series of “record regions' in the text that each contain data
          A record for a particular car may include the value "Alpha    for a single record. If the region of interest is a table, each
       Romeo' for the attribute of “make”; “red” for the value of row of the table may include the attribute values of a record
       the attribute “color”; and “S1900' for the value of the          and thus be a record region.
       attribute of price. The other attributes, “model” and “year' 25 After a region of interest has been identified, Segmenter
       are left blank.
                                                                        parsers are applied to it. The first parser may return each cell
          Converting text information to records is useful because as a record region; the Second, each row, and the third, each
       it allows Searching, Sorting and presenting of the databased column. Then the Segmenter grader is applied. Recognizers
       on the values of the different attributes. However, not all      are again used by the graders to evaluate the different record
       records come from the same text or are presented in the same regions returned. The graders apply the programmed algo
       text format. Therefore, it is desirable to extract records from  rithm which may penalize record regions returned that have
       a variety of different texts in different formats. Usually, data fewer than one or more than one value per attribute. AS
       extraction can be done by using Software called a “data before, the Series of record regions that returns the best grade
       extractor' that is tailored to the text format of interest, one  becomes the Series of interest.
       extractor for each type of text format. Alternatively, it is 35 Once the record regions are identified, automatic data
       possible to develop a data extractor that deduces the format
       of the Source text and then uses that format to guide it in extractors        produce records as follows. For each record
                                                                        region, a record is formed with all the attributes initially
       extracting records. These data extractors are referred to as having no values. Then for each attribute, if there is at least
       “automatic data extractors.” Automatic data extractors can
                                                                        one recognized value in the record region, that value
       be used on texts from different sources or on texts from the 40 becomes the record value. That first value is “extracted”
       Same Source but where that text format may change from from the text and entered into the data record.
       time to time.
                                                                           This kind of automatic data eXtractor relies heavily on the
          In order to deduce the format of a newly encountered text, domain knowledge in its vocabulary lists. The more com
       the automatic data extractor may use its knowledge of the prehensive the list of recognizers, the better will be the
       attribute values and various other formats. Knowledge of 45 deduction of Source text information and the more complete
       attribute values, referred to as “domain knowledge' may be the data records. Therefore, having a larger vocabulary list
       contained in a vocabulary list Stored in the memory of a is better. However, building a large vocabulary list is labor
       computer or digital Storage device. To use the example given intensive.      Furthermore, Vocabulary changes in time. New
       above, domain knowledge of color values of cars may values come into existence and old values become out of
       include not only colors such as “red”, “blue” and “green” but 50 date. Thus not only is building a large list labor intensive, So
       a list of color labels such as “color” and “coloring.”           also is maintaining an up-to-date list. Thus there remains a
          Referring now to FIG. 1, which depicts a schematic view need for a better way to develop and maintain vocabulary
       of a prior art automatic data extractor, automatic data lists in automatic data extractors.
       extractors may use focuser procedures to identify regions of                  SUMMARY OF THE INVENTION
       interest in text that is read in. These procedures include 55
       vocabularies of “recognizers” to identify attribute values and      The present invention is a method for increasing the
       labels in texts. To identify various formats, automatic data Vocabulary of an automatic data eXtractor and it is also an
       extractors use “focus parsers” or “parsers”. Parsers identify automatic data eXtractor that automatically learns new
       regions in a Source text where the text may contain attribute Vocabulary. The present automatic data extractor increases
       values. Recognizers can be use to evaluate regions of text 60 its vocabulary by learning as it is applied to extract data
       identified by parsers. Because different parsers may be more records from text. An automatic data extractor that learns
       appropriate for a given region of text known to have attribute new vocabulary can extract more data records from text. The
       values, the results provided by different parsers must be present automatic data eXtractor uses domain knowledge to
       evaluated or "graded' for their appropriateneSS. The focus deduce data Structure, then uses both the new structure and
       procedures that grade parsers in this way are called “focus 65 domain knowledge to extract new values not previously in
       graders' or “graders.” Thus, focuser procedures include its vocabulary and adds them to the records and to its
       three components: recognizers, parsers and graders. Recog Vocabulary.




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           The method includes procedural components in addition any year in the past 100 years. The attribute values for a
       to those in prior art data eXtractors, namely, field parsers and particular car or magazine article would comprise a record
       field graders. Each field parser is applied to a Series of record for that car or article.
       regions to create a candidate Series of field lists. Then the           Text refers to information presented in alphanumeric or
       field grader uses recognizers to choose a single best Series of digital form as opposed to, for example, imageS. In a text,
       field lists from the various candidates created by the field there may be Several regions. There may be a region that
       parsers. Next, an attribute mapper is applied to the Selected includes a table, for example. The table may contain
       series of field lists to determine the positions of the attributes attribute values for Several types of information or things.
       in the list. Once it is known that a particular attribute That region may be considered to be a region of interest
       corresponds to a particular position in the field lists, the within that text.
       fields in that position of the field lists are written as the           A region of interest, and in particular a region containing
       attribute values to the corresponding record whether they are
       in the vocabulary list or not. In this way, new values of rows ormay a table,       include Several record regions, Such as Several
       attributes are deduced or "gleaned” from a text Source. If a Separate columns            of a table, each row or column being a
                                                                                       record region and the Series of record regions
       field is not in the vocabulary list, it is added to the vocabu 15 comprising the whole table. Each record region will contain
       lary list. Thus, the data extractor learns new vocabulary several fields. The field is the content of a part of the record
       values through use.                                                  region assigned to an attribute and may contain a value. The
           An important advantage of the present invention is that it list of fields is the set of all the attributes in a record region.
       is able to produce a more complete record than prior art A field may contain a value for the attribute assigned to that
       automatic data extractors because it deduces new attribute           part of the record region if the contents of a field correspond
       values not previously in its vocabulary. Just as importantly, to an attribute value.
       it is able to add these new attribute values to that vocabulary         For example, a table of cars by year, make and model,
       to increase the Size of its vocabulary automatically.                may be a region of interest in a text. Each row in the table
           These and other features and advantages of the present is a record region and each record region may contain the
       invention will become apparent to those skilled in the art of 25 year, make and model of a particular car. The list of fields
       data eXtraction from a careful reading of the Detailed will then be the year, make and model, and, for a particular
       Description of Preferred Embodiments accompanied by the car, those fields may contain the values of 1997, Chrysler,
       following drawings.                                                  Town & Country because these are values of year, make and
               BRIEF DESCRIPTION OF THE DRAWINGS
                                                                            model, respectively.
                                                                               The process of parsing and Segmenting means to identify
           In the figures,                                                  or determine the Structure of text. Graders are used to
           FIG. 1 illustrates a prior art automatic data extractor;         increase the likelihood that the Structure identified is correct
           FIG. 2 illustrates a learning data extractor, according to a or more likely than not to be correct. Gleaning is the process
       preferred embodiment of the present invention; and                35 of deducing values from text when the values are not
                                                                            identified by recognizers. In gleaning, the deduction is
           FIG.3 illustrates a flow chart for a learning data extractor, made, from the Structure of the data and its contents, that the
       according to a preferred embodiment of the present inven fields in the data correspond to particular attribute values. In
       tion.                                                                parsing, Segmenting and gleaning, a Vocabulary of recog
               DETAILED DESCRIPTION OF PREFERRED                         40 nizers is used to deduce new records. Learning means the
                                EMBODIMENTS                                 process of using the gleaned records to enhance the Vocabu
                                                                            lary of the automatic data extractor when it is next applied
           The present invention is a learning automatic data eXtrac to teXt.
       tor. It extracts data records from text that contain data in a          In order to describe the present invention better, an
       format not known a priori, identifies attribute values both 45 example will be given first.
       previously known and unknown to it for the data record, and             Suppose a Source text is a web site and the text corre
       adds new attribute values to its vocabulary. The present
       invention is an improvement to the prior art automatic data sponding hypertext
                                                                                        to the region of interest is a String of text in
                                                                                        mark up language (html) as follows:
       extractors described in the Background of the Invention. The
       improvement is characterized by the capability (1) to glean 50
       new attribute values not in the pre-existing Vocabulary by             <old
       deducing them from data records after the Structure of the             <li> BUY HERE, BUY NOW
       data format is itself deduced and (2) to learn new vocabulary          <li> call 1-800-BUY-CARS
       by adding new attribute values to the pre-existing Vocabu              <li> Open 24-7, No Hassle
       lary. Certain terms used herein are important to the under 55
       Standing of the present invention.                                     </old
          Attributes are the types of characteristics that can be used        <table>
       to describe information or things. For example, cars can be            <tric
       characterized by the following attributes: make, model, year,          <td 1988 </tde
       color, price, millage, options and condition. An article in a 60       <td> Yugo </tdd
       magazine can be characterized by the following attributes:             <tda ZLM </tde
       length, Subject, title, author, name of publication, date of           <tdd red </tdd
       publication, and Starting page.
          Given a particular attribute, its values run the range of           <td> S800 </tdd
       examples that attribute can take on. For example, the 65               <td> orange racing flames painted on hood </td>
       attribute of color can take on values Such as red, green, blue         </tra
       or yellow; the attribute of the year of an automobile can be           <tric




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                                                           US 6,662,190 B2
                                                                                                         6
         <td 1995 C/tde                                                     make: “Volkswagen” model: “Beetle” year: “1999" color:
         <td> Jeep </tdd                                                       “iris' price: “S20,000”
         <tdd Grand Cherokee </tdd                                          The learning automatic data extractor then identifies the
                                                                          values that were not in the original data records but are in the
         <tdd blue </tdd                                                  augmented records (“Yugo”, “ZLM”, and “iris") and adds
         <tdd S10,500 </td>                                               them to the Vocabulary of recognizers associated with the
         <tdd runs well </tdd                                             corresponding attributes (“make”, “model”, and “color”,
         <tric
                                                                          respectively).
         <td 1999 </tde
                                                                             The learning data extractor includes an automatic data
                                                                          extractor component and a discoverer component. The auto
         <td> Volkswagen </tdd                                            matic data extractor includes a list of attribute names,
         <tdd Beetle </tdd                                               attribute recognizers, a focuser and a Segmenter. The focuser
         <tdd iris </tdd                                                 includes both focus parsers and a focus grader. Similarly, the
         <tdd S20,000 </td>                                              Segmenter includes both Segmenter parsers and a Segment
         <td> good as new </td>                                       15 grader.
         </tre
                                                                            The discoverer component includes field parsers, a field
                                                                         grader, an attribute mapper, a gleaner and a learner.
         </table>                                                           In processing text, a computer will first read in text from
         These are great autos Buy one today.                             a text Source. The automatic data extractor (previously read
                                                                          into the computer) will then be applied to produce record
          ASSume that a learning data extractor has been pro regions and records as in the automatic data extractors of the
       grammed to produce records on cars for Sale with the prior art. Then the discoverer component will be applied by
       attributes of make, model, year, color, and price. ASSume first using the field parsers to develop Several candidate field
       that there are Suitable vocabulary lists for make, model, year, list Series. A best field list series is obtained from these
       and color but the recognizer for price uses a text pattern 25 candidate field list Series by applying the field grader. Next,
       instead of a vocabulary list. ASSume that the Vocabulary list the attribute mapper is applied to the best field list Series to
       of values for the attribute of “make” includes "Jeep' and determine which attribute maps to which position in the field
       “Volkswagen” but not “Yugo'; that the vocabulary list of list. The gleaner augments the records developed by the
       values for model includes “Grand Cherokee' and “Beetle'            automatic data eXtractor with additional values deduced
       but not “ZLM'; that the vocabulary list of values for the          from the results returned by the attribute mapper, and the
       attribute of “color” includes “red” and “blue” but not “iris';     learner augments the Vocabularies of attribute values with
       and that the vocabulary list of values for the attribute of year the additional values. The output is the augmented data
       is Suitably complete.                                              records and the augmented vocabulary of the data eXtractor.
          The focuser identifies the table and its contents as the           Not all values that might be learned are desired vocabu
       region of interest and the Segmenter identifies the table rows 35 lary list elements. For example, attribute labels may be
       as the Series of record regions. Then the learning automatic discovered and learned as values if the labels occur in a
       data extractor produces the following data records:                header region that has a similar Structure to the other record
          make: “ ” model: “ ” year: “1988” color: “red” price:           regions. One remedy is to check that fields are not recog
             “S800                                                        nized labels before inserting the fields into the vocabulary
          make: “Jeep” model: “Grand Cherokee” year: “1995” 40 Vocabulary list in the learner process. Another remedy is to check the
             color: “blue” price: “S10,500”                                              lists on occasion and remove the undesired
          make: “Volkswagen” model: “Beetle” year: “1999" color:          entries. Yet another remedy is to Store new vocabulary in a
             “” price: “S20,000”                                          temporary list instead of a Vocabulary list, then occasionally
                                                                          clean out undesired entries and add the temporary list to the
          ASSume that one of the field parsers identifies the contents 45 vocabulary    list.
       of the html table cells as fields and that the field grader           There   are  many ways to enhance the basic implementa
       Selects this parser. Thus, the field lists are as follows.         tion described above. One way is to use a weeder process to
          “1988”, “Yugo”, “ZLM”, “red”, “S800”, “orange racing removed the undesired records from the Series of records
             flames painted on hood”                                      before they are written out. The proceSS may employ dif
          “1995”, “Jeep”, “Grand Cherokee”, “blue”, “S10,500", 50 ferent rules to determine which records to remove. For
             “runs well                                                   example, records with all attribute values blank can be
          “1999”, “Volkswagon”, “Beetle”, “iris”, “S20,000”, removed. Also, records with one or more Standard deviations
             “good as new”                                                fewer than the average number of attribute values can be
          The attribute mapper uses the recognizers to determine removed.
       that the attribute of “make'corresponds to the second posi 55 It will be apparent to those skilled in data extraction that
       tion; the attribute of “model”, to the third position; the other modifications and Substitutions can be made to the
       attribute of “year', to the first position; the attribute of learning data extractor described in the preferred embodi
       “color', to the fourth position; and the attribute of “price', ments without departing from the Spirit and Scope of the
       to the fifth position. The learning automatic data extractor present invention, defined by the appended claims.
       uses this information to deduce that “Yugo” is a make value, 60 What is claimed is:
       “ZLM' is a model value and “Iris' is a color value, and              1. A method for data extraction of a text file to a record
       augments the data records accordingly. Now the augmented file, Said method comprising the Steps of:
       records appear as follows:                                  (a) identifying an area of interest in a text file;
         make: “Yugo” model: “ZLM” year: “1988” color: “red”       (b) parsing said area of interest in order to identify a list
            price: “S800”                                      65     of values of attributes in Said area of interest;
         make: “Jeep” model: “Grand Cherokee” year: “1995”         (c) recognizing a first set of values in Said list that match
            color: “blue” price: “S10,500”                            values contained in an attribute value Vocabulary;




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          (d) forming a record using said first set of values,              8. A data extractor, comprising:
          (e) gleaning a Second set of values in said list that do not      means for identifying a region of interest;
             match values contained in Said attribute value Vocabu
             lary; and                                                      an attribute value Vocabulary;
          (g) adding said Second set of values to said record.              field parsing means for identifying a list of values of
          2. The method as recited in claim 1, further comprising              attributes in Said region of interest;
       the Step of adding Said Second Set of values to Said attribute       recognizer means for recognizing values in Said list of
       value Vocabulary.                                                       values that match values contained in Said attribute
          3. The method as recited in claim 2, further comprising             value Vocabulary;
       the Steps of:
          adding Said Second Set of values to a temporary memory;           gleaning means for identifying values in Said list of values
            and                                                                that do not match values contained in Said attribute
          purging undesired values from Said Second set of values.            value Vocabulary;
          4. The method as recited in claim 1, wherein Said parsing         means for forming a record; and
       Step produces plural lists and wherein Said method further 15
       comprises the Step of grading Said plural lists to identify Said     means for adding values to Said record from Said recog
       list of values.                                                        nizer means and Said gleaning means.
          5. The method as recited in claim 1, wherein Said gleaning        9. The data extractor as recited in claim 8, wherein said
       Step further comprises the Step of mapping Said list of values     identifying means further comprises:
       of attributes to a set of attributes in order to determine a
       position of each attribute in Said list.                              at least one focus parser; and
         6. The method as recited in claim 5, wherein said first set         a focus grader, each focus parser of Said at least one focus
       of values is used to identify Said position.                             parser identifying a potential region of interest and Said
          7. The method as recited in claim 1, further comprising               focus grader grading Said potential region of interest.
       the step of:
          purging undesired values from Said Second set of values.




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